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                                   Exhibit C




Decl. of Carly J. Munson in Support of Mot. to Dismiss First Am. Compl. & Corresponding Req. for Judicial Notice
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10   California Civil Rights Department (Fee Exempt, Gov. Code, § 6103)
11                    IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
12                             IN AND FOR THE COUNTY OF SANTA CLARA
13   CALIFORNIA CIVIL RIGHTS                                Case No. 20CV372366
     DEPARTMENT, an agency of the State of
14   California,                                            CIVIL RIGHTS – SECOND AMENDED
                                                            COMPLAINT
15                                            Plaintiff,
16                           v.
17   CISCO SYSTEMS, INC., a California                      DEMAND FOR JURY TRIAL
     Corporation,
18
                                            Defendant.
19

20

21          The California Civil Rights Department (CRD) brings this action against Cisco Systems,

22   Inc. (Cisco) to remedy workplace discrimination, harassment, and retaliation violations at its San

23   Jose, California corporate headquarters under the California Fair Employment and Housing Act,

24   Cal. Gov’t Code § 12900, et seq. (FEHA). Specifically, Cisco engaged in unlawful employment

25   practices on the bases of religion, ancestry, national origin/ethnicity, and race/color against.

26   Complainant Chetan Narsude (“Complainant”), and after Complainant opposed such unlawful

27   practices, Cisco retaliated against him. Cisco also failed to take all reasonable steps to prevent such

28   unlawful practices in its workplace, as required under FEHA.

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 1                                               INTRODUCTION

 2           1.      Complainant is Dalit Indian, a population once known as the “Untouchables,” who

 3   are the most disadvantaged people under India’s centuries-old caste system.1 At the bottom of the

 4   Indian hierarchy is the Dalit, typically the darkest complexion caste, who were traditionally subject

 5   to untouchability practices which segregated them by social custom and legal mandate. Although

 6   de jure segregation ended in India, lower caste persons like Dalits continue to face de facto

 7   segregation and discrimination in all spheres.2 Not only do Dalits endure the most severe inequality

 8   and unfair treatment in both the public and private sectors, they are often targets of hate violence

 9   and torture. Of India s approximately 1.3 billion people, about 200 million are Dalits.3

10           2.      Unlike Complainant, most Indian immigrants in the United States are from upper

11   castes. For example, in 2003, only 1.5 percent of Indian immigrants in the United States were

12   Dalits or members of lower castes.4 More than 90 percent were from high or dominant castes.

13   Similarly, upon information and belief, the same is true of the Indian employees in Cisco’s

14   workforce in San Jose, California.

15           3.      As alleged below, at Cisco’s San Jose headquarters, Complainant worked with a

16   team of entirely Indian employees. The team members grew-up in India and immigrated as adults

17   to the United States. Except for Complainant, the entire team are also from the high castes in India.

18   As beneficiaries of the caste system, Complainant's higher caste supervisors and co-workers

19   imported the discriminatory system’s practices into their team and Cisco’s workplace.

20           4.      Complainant’s supervisors and co-workers, Sundar Iyer (“Iyer) and Ramana

21   Kompella (“Kompella”), are from India’s highest castes. Because both knew Complainant is Dalit,

22   1
       Complainant is Dalit because of his religion, ancestry, national origin/ethnicity, and race/color. The caste to
23   which someone belongs is immutable and determines their social status in traditional Indian culture. Social
     stratification and discrimination based on caste persists in India and among those living outside India,
24   including in America. Encyclopedia Britannica, India: Caste (June 24, 2020),
     https://www.britannica.com/place/India/Caste (last visited June 29, 2020).
25   2
       Human Rights Watch & Center for Human Rights and Global Justice at New York University School of
     Law, Hidden Apartheid: Caste Discrimination against India’s "Untouchables,” at 45 (2007),
26   https://www.hrw.org/reports/2007/india0207/india0207webwcover.pdf
     3
       Office of the Registrar General & Census Commissioner, India, Ministry of Home Affairs, Government of
27   India, 2011 Primary Census Abstract, https://censusindia.gov.in/pca/default.aspx.
     4
       Tinku Ray, The US isn’t safe from the trauma of caste bias, The World (Mar. 08, 2019, 9:00 AM),
28   https://www.pri.org/stories/2019-03-08/us-isn-t-safe-trauma-caste-bias.
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 1   they had certain expectations for him at Cisco. Complainant was expected to accept a caste

 2   hierarchy within the workplace where Complainant held the lowest status within the team and, as a

 3   result, received less pay, fewer opportunities, and other inferior terms and conditions of

 4   employment because of his religion, ancestry, national origin/ethnicity, and race/color. They also

 5   expected him to endure a hostile work environment. When Complainant unexpectedly opposed the

 6   unlawful practices, contrary to the traditional order between the Dalit and higher castes,

 7   Defendants retaliated against him. Worse yet, Cisco failed to even acknowledge the unlawful

 8   nature of the conduct, nor did it take any steps necessary to prevent such discrimination,

 9   harassment, and retaliation from continuing in its workplace.

10            5.     Not only did Cisco disregard Complainant, but also its own workforce. For decades,

11   similar to Complainant’s team, Cisco s technical workforce has been and continues to be

12   predominantly South Asian Indian. According to the 2017 EEO-1 Establishment Report (EEO-1

13   Report), for example, Cisco has a significant overrepresentation of Asian employees compared to

14   other companies in the communications, equipment and manufacturing industry (NAICS 3342) in

15   the same geographic area, which is statistically significant at nearly 30 standard deviations.5 Such

16   overrepresentation is also present in management and professional job categories. In addition to

17   Cisco’s direct workforce, Cisco also employs a significant number of South Asian Indian workers

18   through Indian-owned consulting firms. Outside of San Jose, Cisco’s second largest workforce in

19   India.

20            6.     Although Cisco has employed a predominantly South Asian Indian workforce for

21   decades, Cisco was and continues to be wholly unprepared to prevent, remedy, or deter the

22   unlawful conduct against Complainant or similarly situated lower caste workers. Cisco failed to

23   take any steps whatsoever to prevent “ . . . inequalities associated with [c]aste status, ritual purity,

24   and social exclusion [from] becom[ing] embedded . . . ” into its workplace, which is a documented

25
     5
       2017 EEO-1 Report for Cisco Systems, Inc. at 170 West Tasman Drive in San Jose, California. Because
26   Cisco is a federal contractor and employs 50 or more employees in California and the United States, Cisco
     is required to file an Employer Information Report EEO-1, also known as the EEO-1 Report. The EEO-1
27   Report requires employers to report employment data for all employees categorized by sex, race/ethnicity,
     and job category. EEOC, EEO-1 Instruction Booklet, https://www.eeoc.gov/ employers/eeo-1-survey/eeo-
28   1-instruction-booklet (last visited June 23, 2020).
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 1   problem for “… American mainstream institutions that have significant South Asian immigrant

 2   populations.”6 A 2018 survey of South Asians in the U.S. found that 67% of Dalits reported being

 3   treated unfairly at their American workplaces because of their caste and related characteristics.7

 4   However, few South Asian employees raised concerns to their American employers, because they

 5   believe “their concerns will not be given weight or will lead to negative consequences to their

 6   career.”8 This is precisely what happened to Complainant at Cisco.

 7                                     JURISDICTION AND VENUE
 8            8.    This action is authorized and instituted pursuant to California Government Code
 9   sections 12930 (f) and (h), and 12965(a).
10            9.    The employment practices alleged to be unlawful were and are now being
11   committed within the County of Santa Clara in the State of California, which is within the
12   jurisdiction of the Superior Court of the County of Santa Clara. (Cal. Gov’t Code § 12965, subd.
13   (a).)
14            10.   Plaintiff has standing to bring this suit and has complied with all statutory
15   prerequisites to maintain FEHA claims.
16            11.   Complainant filed a pre-complaint inquiry with CRD on or about April 20, 2018,
17   and a verified administrative complaint against Defendant Cisco on or about July 30, 2018. The
18   charge was dually filed with the Equal Employment Opportunity Commission (EEOC). CRD
19   properly served the administrative complaint on Defendant Cisco on or about August 7, 2018. On
20   or around October 9, 2018, Complainant filed an amended administrative complaint against Cisco,
21   Iyer, and Kompella. The amended administrative complaint was properly served on all named
22   responding parties on or about October 9, 2018.
23            12.   CRD investigated Complainant’s dually filed EEOC-CRD charge and complaint
24   pursuant to California Government Code sections 12930(f) and 12963.
25

26   6
       Maari Zwick-Maitreyi et al., Equality Labs, Caste in the United States: A Survey of Caste Among
     South Asian Americans, 16 (2018) https://static1.squarespace.com/static/58347d04bebafbb1e66df84c/t/
27   5d9b4f9afbaef569c0a5c132/1570459664518/Caste_report_2018.pdf.
     7
       Id. at 20.
28   8
       Ibid.
                                                         -4-
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 1            13.    Pursuant to Cal. Gov’t Code § 12965(a), the CRD convened a mandatory dispute

 2   resolution session on or about February 11, 2020. Settlement discussions were unsuccessful. The

 3   CRD and Defendants entered consecutive tolling agreements to toll the statutory deadline for CRD

 4   to file a civil action to June 30, 2020.

 5            14.    On or about June 30, 2020, CRD filed a civil rights complaint in the United States

 6   District Court for the Northern District of California. On or about October 16, 2020, CRD

 7   voluntarily dismissed the federal civil rights action pursuant to Rule 41(a)(1) of the Federal Rules

 8   of Civil Procedure.

 9            15.    CRD files this state court action pursuant to the FEHA, California Government

10   Code sections 12930, subdivisions (f)(1), (h), and 12965, subdivision (a), and 28 U.S.C. section

11   1367, subdivision (d). All conditions precedent to the institution of this lawsuit have been fulfilled.

12   The amount of damages sought by this complaint exceeds the minimum jurisdictional limits of this

13   Court.

14                                                 PARTIES

15   Plaintiff California Civil Rights Department

16            16.    Plaintiff CRD is the agency of the State of California charged with the

17   administration, interpretation, investigation, and enforcement of the FEHA, and is expressly

18   authorized to bring this action by California Government Code sections 12930, subdivisions (f),

19   (h), and 12965, subdivision (a).

20            17.    Complainant is the person claiming to be aggrieved on whose behalf the CRD files

21   this civil action. (Cal. Gov’t Code, §§ 12965, subd. (a), 12930, subd. (f), (h).)

22            18.    At all relevant times, Complainant was, and remains, an “employee” of Defendant

23   Cisco within the meaning of FEHA. (Cal. Gov’t Code, §§ 12926, subd. (c)-(d), 12940, subd. (a),

24   (j), (k).) On or around October 2015 to November 2018, Complainant worked as a Principal

25   Engineer with Cisco in Santa Clara County, California. Since on or about December 2018,

26   Complainant has worked as a Principal Engineer with Cisco in Santa Clara County, California.

27            19.    At all relevant times, Complainant was, and remains, a “person” within the

28   meaning of the FEHA. (Cal. Gov’t Code, §§ 12925, subd. (d), 12940, subd. (h).)

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 1   Defendant Cisco Systems, Inc.

 2            20.   Defendant Cisco (EEO-1 reporting number N14137) is a leading global high-tech

 3   firm founded in 1984. The company designs, manufactures, sells, and supports equipment for

 4   internet-based networking. It has approximately 75,900 employees worldwide and is publicly

 5   traded on NASDAQ. The firm’s EEO-1 reports places it in the communications equipment

 6   manufacturing industry (NAICS 3342). Within California, Cisco employs at least 18,281

 7   employees at 19 establishments in 6 different metropolitan areas, including the corporate

 8   headquarters in San Jose.

 9            21.   At all relevant times, Defendant Cisco has continuously been and is now a

10   California Corporation doing business in the State of California and the Cities of San Jose and

11   Milpitas in Santa Clara County and has continuously had at least fifteen employees.

12            22.   At all relevant times, Defendant Cisco has continuously been an employer engaged

13   in an industry affecting commerce within the meaning of California Government Code, section

14   12926, subdivision (d).

15            23.   At all relevant times, Cisco contracted with and received federal and state funds

16   from the United States and California governments.

17                                       STATEMENT OF CLAIMS

18            28.   Beginning in the November 1, 2016, Defendant Cisco engaged in unlawful

19   employment practices, in violation of California Government Code, section § 12940 subdivisions

20   (a), (j), (h), and (k). These practices include but are not limited to the practices described below.

21            29.   Complainant’s ancestry, national origin/ethnicity, and race/color is Dalit Indian.

22   Complainant has a darker complexion relative to other persons of non-Dalit Indian descent.

23   Complainant’s religion is Hindu. As a Dalit, he also is known as from the Untouchable or Scheduled

24   Caste.

25            30.   Complainant has over 20 years of experience in the software development lifecycle

26   process at startups and established companies. In or around September 2015, Iyer recruited and

27   hired Complainant as a Principal Engineer for Cisco because of his expertise and experience. As

28   the head of the Cisco team, Iyer hired and supervised Complainant, having the authority to control

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 1   his day-to-day assignments, discipline, discharge, direct, and transfer Complainant. Upon

 2   information and belief, Iyer is Brahmin.

 3          31.     In or around October 2016, two of Complainant’s colleagues told Complainant that

 4   Iyer informed them that Complainant was from the “Scheduled Caste” (Dalit) and enrolled in the

 5   Indian Institute of Technology (IIT) through affirmative action. Iyer was aware of Complainant’s

 6   caste because they attended IIT at the same time.

 7          32.     In or around November 1, 2016, Complainant confronted Iyer about disclosing

 8   Complainant’s Caste to other Cisco employees. Iyer asked Complainant who claimed he made

 9   such a comment. After Complainant shared the names of his colleagues, Iyer denied the comment

10   and stated Complainant’s colleagues were not telling the truth.

11          33.     In or around November 21, 2016, Complainant contacted Cisco’s human resources

12   (HR) and Employee Relations to file a discrimination complaint against Iyer.

13          34.     Six days after Complainant’s first contact with Cisco's HR and employee relations, Iyer

14   told Complainant he was taking away Complainant's role as lead on two technologies.

15          35.     On or around November 28, 2016, Iyer promoted two of Complainant’s colleagues to

16   head engineering roles, one of whom was Kompella. Kompella was made Head of Southbound

17   Engineering. Upon information and belief, Kompella is Brahmin or at least of a higher caste than

18   Dalit. With this new title, Kompella received a raise of approximately 15% or more. As the Head

19   of Southbound Engineering, Kompella had the ability to direct the day-to-day assignments and

20   recommend employment actions for those on his team, including Complainant.

21          36.     On or around November 28, 2016, Iyer also removed team members from the third

22   technology Complainant was working on and did not formally integrate the third technology into

23   either team headed by the two new Heads of Engineering. As a result of these changes,

24   Complainant’s role was reduced to that of a system architect as an independent contributor, and he

25   was isolated from all his colleagues.

26          37.     On or around December 8, 2016, Complainant submitted a written complaint about

27   Iyer’s disclosure of Complainant’s caste, Complainant’s complaint to Iyer, and Iyer’s retaliatory

28   employment actions, including the sudden changes to Complainant’s job duties. He also

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 1   complained that Iyer made discriminatory comments to a colleague and about a job applicant

 2   because of the applicant’s religion (Muslim).

 3          38.     Cisco’s Employee Relations Manager, Brenda Davis, conducted the investigation

 4   into Complainant’s December 2016 complaint. Davis’ internal investigation notes revealed that

 5   Iyer admitted that he told Complainant’s colleagues that Complainant was not on the “main list.”

 6   Among those from India, it is commonly known that students not on the main list are admitted to

 7   IIT through an affirmative action program designed for those from the “Scheduled Castes” or those

 8   outside the caste system. Therefore, stating that someone is not on the “main list” effectively

 9   reveals their caste. Despite this, Davis took no further action and failed to even contact relevant

10   witnesses or Complainant.

11          39.     Cisco Employee Relations staff, including Davis, also indicated that caste

12   discrimination was not unlawful. As a result, Davis did not recommend any corrective action

13   against Iyer. Iyer also admitted that he made a joke about Complainant’s co worker’s religion and

14   talked about an applicant’s Muslim-related appearance. Still, Davis did not recommend any

15   corrective action. On or around February 2, 2017, Davis closed her investigation finding all of

16   Complainant’s complaints were unsubstantiated.

17          40.     Iyer’s retaliatory efforts continued. He further isolated Complainant from the team

18   when he disparaged Complainant to other employees, misrepresented that Complainant did not

19   perform his job adequately, and told Complainant’s team members that they should avoid working

20   with him.

21          41.     On or around March 2, 2017, Complainant sought review of Davis’ investigation

22   findings. After repeated attempts to have Cisco review Davis’ findings, HR official Tara Powell

23   finally reopened the investigation on or around April 25, 2017. Powell re-interviewed one of the

24   employees to whom Iyer made the comment about Complainant’s caste in or around October 2015.

25   The employee stated that he learned about Complainant’s caste but refused to tell Powell how he

26   knew, noting that he did not want to say anything about Iyer because they had known each other

27   for a long time. He also stated that he thought Complainant was being treated unfairly and that he

28   was very technically able but was being excluded at work. Powell did not attempt to contact for an

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 1   interview the other employee who witnessed Iyer's disclosure of Complainant’s caste. Two

 2   additional witnesses told Powell that they feared losing their jobs or otherwise being retaliated

 3   against for speaking out against Iyer. One of those employees also told Powell that he thought

 4   Complainant was very competent and asked appropriate questions, but that Iyer was setting

 5   Complainant up to push him out of the company.

 6          42.     Powell’s investigation also uncovered a spreadsheet that showed anticipated yearly

 7   raises, bonuses, and restricted stock unit awards that Iyer had promised Complainant. These raises,

 8   bonuses, and awards never materialized when promised. But Powell also found that four out of the

 9   eight other team members received raises in or around October 2016.

10          43.     In or around August 2017, Powell concluded she could not substantiate any caste-

11   based or related discrimination or retaliation against Complainant. Powell, however, determined

12   that Iyer mocked another employee’s religion and thus violated Cisco's Code of Conduct. Still, no

13   immediate corrective action was taken.

14          44.     Despite Complainant’s repeated attempts to bring the caste-based and related

15   discrimination, harassment, and retaliation to Defendant Cisco’s attention in 2016 and 2017, Cisco

16   failed to recognize casteism as a form of unlawful religion-, ancestry-, national origin/ethnicity-,

17   and race/color-based discrimination or harassment under state or federal law and failed to conduct

18   a thorough investigation. While the investigation confirmed Complainant was increasingly isolated

19   and treated unfairly by Iyer and Kompella, Cisco failed to take timely and appropriate corrective

20   action. Moreover, Cisco’s training was deficient in that it did not adequately train managerial

21   employees on workplace discrimination, harassment, and retaliation, nor did the company prevent,

22   deter, remedy, or monitor casteism in its workforce.

23          45.     On or around February 26, 2018, Kompella became the Interim Head of

24   Engineering for Cisco’s team after Iyer stepped down. In his new role, Kompella supervised

25   Complainant and continued to discriminate, harass, and retaliate against Complainant by, for

26   example, giving him assignments that were impossible to complete under the circumstances.

27   Kompella also began requiring Complainant to submit weekly status reports to him and Senior

28   Vice President/General Manager Tom Edsall.

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 1             46.     On or around May 21, 2018, Rajeev Gupta took over from Kompella and became

 2   the Director of Engineering. In that role, Gupta supervised Complainant.

 3             47.     Two months later, in or around July 2018, Complainant applied for the position of

 4   Director of Research and Development Operations with Gupta. According to Gupta’s interview

 5   notes, he ranked Complainant as “below average” in six out of eight categories and as “meeting

 6   requirements” in the remaining two categories. But Gupta’s assessment of Complainant was

 7   improperly influenced by Iyer’s retaliatory employment actions. Gupta specifically cited

 8   Complainant’s lead role being taken away and his job reduced to that of an independent

 9   contributor in November 2016. Gupta’s notes also reflected Iyer’s retaliatory criticisms about

10   Complainant’s work product, social skills, and insubordination. Complainant did not get the

11   position.

12             48.     The effect of the unlawful employment practices complained of above was to

13   deprive Complainant of equal employment opportunities, and otherwise adversely affect his status

14   as employees, because of religion, ancestry, national origin/ethnicity, and race/color.

15             49.     The unlawful employment practices complained of above were intentional.

16             50.     The unlawful employment practices complained of above were done with malice or

17   with reckless indifference to Complainant’s federally and state-protected civil rights.

18                                       FIRST CAUSE OF ACTION
                     Violation of FEHA: Discrimination on the Basis of Religion, Ancestry,
19                                 National Origin/Ethnicity, and Race/Color
20                                    (Cal. Gov't Code, § 12940, subd. (a))
                                             Against Defendant Cisco
21

22             51.     The CRD incorporates and realleges all previous allegations as if fully set forth

23   herein.

24             52.     The FEHA guarantees all employees a workplace free from unlawful discrimination

25   and harassment based on the employee’s religion, ancestry, national origin/ethnicity, and

26   race/color. (Cal. Gov’t Code, § 12940, subd. (a).)

27             53.     As alleged above, Cisco discriminated against Complainant by subjecting him to

28   disparate terms and conditions of employment based on his religion, ancestry, national

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 1   origin/ethnicity, and race/color. Among other actions, Cisco reassigned Complainant’s job duties

 2   and isolated him from his colleagues, denied him a raise, denied him work opportunities that

 3   would have led to a raise, denied him a promotion to the Head of Engineering, and denied him a

 4   promotion to the Director of Research and Development Operations.

 5             54.   Cisco subjected Complainant to discriminatory comments and conduct because of

 6   his religion, ancestry, national origin/ethnicity, and race/color

 7             55.   The alleged discriminatory comments and conduct constitute unlawful

 8   discrimination for which Defendant Cisco is liable under California Government Code section

 9   12940, subdivision (a). 56. As a direct result of these unlawful employment practices, Complainant

10   suffered economic injuries including, but not limited to, lost wages and other compensation, in an

11   amount to be proven at trial.

12             57.   As a direct result of these unlawful employment practices, Complainant suffered

13   emotional distress including, but not limited to, emotional pain, suffering, mental anguish,

14   humiliation, and hopelessness, in an amount to be proven at trial.

15             58.   Defendant Cisco’ s actions were willful, malicious, fraudulent, and oppressive, and

16   were committed with the wrongful intent to injure Complainant and in conscious disregard of his

17   rights.

18             59.   Defendant Cisco engaged in, and by its refusal to comply with the law,

19   demonstrated it will continue to engage in, the unlawful employment discrimination described

20   herein unless it is enjoined pursuant to the FEHA. Unless Defendant Cisco is enjoined from failing

21   or refusing to comply with the mandates of the FEHA, Complainant and other persons’ rights to

22   seek or hold employment free of unlawful discrimination will continue to be violated.

23             60.   Plaintiff CRD lacks any plain, speedy, and adequate remedy at law to prevent such

24   harm, injury, and loss that is the subject of this complaint and will continue until this Court enjoins

25   the unlawful conduct and grants other injunctive relief as prayed for herein.

26   ///

27   ///

28   ///

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 1                                   SECOND CAUSE OF ACTION
 2              Violation of FEHA: Harassment on the Basis of Religion, Ancestry, National
                                          Origin/Ethnicity, and
 3                                             Race/Color
                                   (Cal. Gov't Code, § 12940, subd. (j))
 4                                       Against Defendant Cisco
 5             61.   The CRD incorporates and realleges all previous allegations as if fully set forth

 6   herein.

 7             62.   The FEHA prohibits harassment based on the employee’s protected characteristics

 8   including, but not limited to, their caste, which includes religion, ancestry, national

 9   origin/ethnicity, and race/color. (Cal. Gov’t Code, § 12940, subd. (j).) Employers are liable for the

10   harassment of their supervisors. (Id., subd. (j)(1).) Employees and supervisors are liable for their

11   own harassing conduct. (Id., subd. (j)(3).)

12             63.   As alleged above, as supervisors for Cisco’s team, Iyer and Kompella subjected

13   Complainant to offensive comments and other misconduct based on his caste, which includes his

14   religion, ancestry, national origin/ethnicity, and race/color, so severe or pervasive that it created a

15   hostile work environment. Among other things, Iyer and Kompella's comments and conduct

16   include revealing Complainant’s caste to his colleagues, disparaging him to the team, isolating him

17   from the rest of the team, reducing his role to that of an independent contributor, giving him

18   assignments that were impossible to complete under the circumstances, and requiring him to

19   submit weekly status reports. Such a work environment where a stigmatizing personal

20   characteristic such as caste is publicized and used to subjugate an individual in order to maintain a

21   centuries-old hierarchy is hostile, intimidating, offensive, oppressive, and abusive. Other

22   employees corroborated that Complainant was isolated from the rest of the team and that Iyer and

23   Kompella were responsible for it. These were observations Cisco was made aware of during its

24   internal investigations. As evidenced by Complainant's repeated internal complaints, he in fact

25   considered the work environment to be hostile, intimidating, offensive, oppressive, and abusive.

26             64.   As supervisors for Cisco, Iyer and Kompella subjected Complainant to offensive

27   comments and other misconduct based on his caste, which includes his religion, ancestry, national

28   origin/ethnicity, and race/color, so severe or pervasive that it created a hostile work environment.

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 1             65.   Because Iyer and Kompella were supervisors within the meaning of the FEHA,

 2   Defendant Cisco is liable for their harassing conduct. Defendant Cisco knew or should have known

 3   of the conduct as a result of Complainant’s internal complaints and is liable for its failure to take

 4   immediate and appropriate corrective action.

 5             67.   As a direct result of these unlawful employment practices, Complainant suffered

 6   economic injuries including, but not limited to, lost wages and other compensation, in an amount

 7   to be proven at trial.

 8             68.   As a direct result of these unlawful employment practices, Complainant suffered

 9   emotional distress including, but not limited to, emotional pain, suffering, mental anguish,

10   humiliation, and hopelessness, in an amount to be proven at trial.

11             69.   Defendant Cisco’s actions were willful, malicious, fraudulent, and oppressive, and

12   were committed with the wrongful intent to injure Complainant and in conscious disregard of his

13   rights.

14             70.   Defendant Cisco engaged in, and by its refusal to comply with the law,

15   demonstrated it will continue to engage in, the unlawful employment discrimination described

16   herein unless it is enjoined pursuant to the FEHA. Unless Defendant Cisco is enjoined from failing

17   or refusing to comply with the mandates of the FEHA, Complainant and other persons’ rights to

18   seek or hold employment free of unlawful discrimination will continue to be violated.

19             71.   Plaintiff CRD lacks any plain, speedy, and adequate remedy at law to prevent such

20   harm, injury, and loss that is the subject of this complaint and will continue until this Court enjoins

21   the unlawful conduct and grants other injunctive relief as prayed for herein.
                                      THIRD CAUSE OF ACTION
22                                   Violation of FEHA: Retaliation
23                                (Cal. Gov't Code, § 12940, subd. (h))
                                        Against Defendant Cisco
24

25             72.   The CRD incorporates and realleges all previous allegations as if fully set forth

26   herein.

27             73.   California law also guarantees each employees’ right to a workplace and business

28   environment free from unlawful retaliation because the employee opposed discriminatory or

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 1   harassing practices that are unlawful under the FEHA. Employers are liable for the retaliatory

 2   conduct of supervisors. (Cal. Gov’t Code, § 12940, subd. (h).)

 3             74.   As alleged above, as supervisors for Cisco, Iyer and Kompella retaliated against

 4   Complainant for opposing their discriminatory and harassing conduct by confronting Iyer and

 5   filing internal discrimination complaints. Among other things, Complainant engaged in protected

 6   activity by confronting Iyer about disclosing his caste to colleagues and by repeatedly trying to

 7   bring the caste-based and related discrimination and harassment to Cisco’s attention. Immediately

 8   afterwards, Iyer and Kompella subjected Complainant to adverse employment actions including

 9   reassigning his job duties, isolating him from colleagues, giving him assignments that were

10   impossible to complete under the circumstances, denying him work opportunities that could have

11   led to a raise, denying him a raise, and denying him promotions. Cisco aided the retaliation.

12             75.   As supervisors for Cisco, Iyer and Kompella retaliated against Complainant for

13   opposing their discriminatory and harassing conduct by confronting Iyer and filing internal

14   discrimination complaints and Cisco aided the retaliation.

15             76.   Defendant Cisco is liable for the retaliatory conduct of Iyer and Kompella.

16             77.   As a direct result of these unlawful employment practices, Complainant suffered

17   economic injuries including, but not limited to, lost wages and other compensation, in an amount

18   to be proven at trial.

19             78.    As a direct result of these unlawful employment practices, Complainant suffered

20   emotional distress including, but not limited to, emotional pain, suffering, mental anguish,

21   humiliation, and hopelessness, in an amount to be proven at trial.

22             79.   Defendant Cisco’s actions were willful, malicious, fraudulent, and oppressive, and

23   were committed with the wrongful intent to injure Complainant and in conscious disregard of his

24   rights.

25             80.   Defendant Cisco engaged in, and by its refusal to comply with the law,

26   demonstrated it will continue to engage in, the unlawful employment discrimination described

27   herein unless it is enjoined pursuant to the FEHA. Unless Defendant Cisco is enjoined from failing

28

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 1   or refusing to comply with the mandates of the FEHA, Complainant and other persons’ rights to

 2   seek or hold employment free of unlawful discrimination will continue to be violated.

 3             81.   Plaintiff CRD lacks any plain, speedy, and adequate remedy at law to prevent such

 4   harm, injury, and loss that is the subject of this complaint and will continue until this Court enjoins

 5   the unlawful conduct and grants other injunctive relief as prayed for herein.

 6                                  FOURTH CAUSE OF ACTION
           Violation of FEHA: Failure to Take All Reasonable Steps to Prevent Discrimination,
 7                                    Harassment, and Retaliation
                                  (Cal. Gov’t Code, § 12940, subd. (k))
 8                                      Against Defendant Cisco
 9             82.   The CRD incorporates and realleges all previous allegations as if fully set forth
10   herein.
11             83.   California Government Code section 12940(k) provides that it is an unlawful
12   employment practice for an employer to fail to take all reasonable steps necessary to prevent
13   discrimination, harassment, and retaliation from occurring. Employers have the affirmative duty to
14   take all reasonable steps to prevent and promptly correct discriminatory, harassing, and retaliatory
15   conduct. (Cal. Code Regs. tit. 2, § 11023, subd. (a).) Cisco’s conduct, as described above,
16   constitutes a failure to take all reasonable steps necessary to prevent discrimination, harassment,
17   and retaliation in violation of California Government Code section 12940, subdivision (k).
18   ///
19             84.   An actionable claim for violation of California Government Code section 12940(k)
20   on behalf of a complainant exists when an underlying claim of discrimination, harassment, or
21   retaliation is established. (Cal. Code Regs. tit. 2, § 11023, subd. (a)(2).)
22             85.   As alleged above, Defendant Cisco failed to take all reasonable steps necessary to
23   prevent discrimination, harassment, and retaliation from occurring within its South Asian Indian
24   workforce. Among other things, Defendant Cisco failed to develop anti-discrimination and anti-
25   harassment policies and practices that recognize and prohibit caste discrimination as a form of
26   unlawful discrimination under state and federal law. Defendant Cisco also failed to provide
27   appropriate training to managers, supervisors employees, human resources, and employee relations
28

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 1   personnel on how to identify, investigate, remediate, and prevent caste-based discrimination and

 2   harassment, or retaliation against employees or persons who oppose discriminatory and harassing

 3   practices that are unlawful under the FEHA.

 4             86.   Defendant Cisco failed to prevent discrimination and harassment by its managers

 5   and supervisors against Complainant because of his caste.

 6             87.   Defendant Cisco failed to prevent retaliation by its managers and supervisors

 7   against Complainant because he opposed discriminatory and harassing practices that are unlawful

 8   under the FEHA.

 9             88.   As a direct result of Cisco’s failures, Complainant was subjected to unlawful

10   discrimination, harassment, and retaliation by Cisco’s managers and supervisors, suffering

11   economic injuries including, but not limited to, lost wages and other compensation, in an amount

12   to be proven at trial.

13             89.   As a direct result of Cisco’s failures, Complainant was subjected to unlawful

14   discrimination, harassment, and retaliation by Cisco’s managers and supervisors, suffering

15   emotional distress including, but not limited to, emotional pain, suffering, mental anguish,

16   humiliation, and hopelessness, in an amount to be proven at trial.

17             90.   Defendant Cisco' s actions were willful, malicious, fraudulent, and oppressive, and

18   were committed with the wrongful intent to injure Complainant and in conscious disregard of his

19   rights.

20             91.   Defendant Cisco engaged in, and by its refusal to comply with the law,

21   demonstrated it will continue to engage in, the unlawful employment discrimination described

22   herein unless it is enjoined pursuant to the FEHA. Unless Defendant Cisco is enjoined from failing

23   or refusing to comply with the mandates of the FEHA, Complainant and other persons’ rights to

24   seek or hold employment free of unlawful discrimination will continue to be violated.

25             92.   Plaintiff CRD lacks any plain, speedy, and adequate remedy at law to prevent such

26   harm, injury, and loss that is the subject of this complaint and will continue until this Court enjoins

27   the unlawful conduct and grants other injunctive relief as prayed for herein.

28

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 1             93.   Plaintiff CRD also seeks monetary relief for Cisco’s failure to take all reasonable

 2   steps to prevent harassment from occurring.

 3                                 FIFTH CAUSE OF ACTION
         Violation of FEHA: Failure to Take All Reasonable Steps to Prevent Discrimination,
 4
                                            Harassment,
 5                                        and Retaliation
          (Cal. Gov’t Code, § 12940, subd. (k); Cal. Code Regs. tit. 2, § 11023, subd. (a)(3))
 6                          On behalf of CRD; Against Defendant Cisco

 7             94.   The CRD incorporates and realleges all previous allegations as if fully set forth

 8   herein.

 9             95.   In an exercise of the CRD’s police powers, the CRD may independently seek

10   additional remedies for a violation of Cal. Gov’t Code § 12940(k). (Cal. Code Regs. tit. 2,

11   § 11023, subd. (a)(3).) As the agency of the State of California charged with the administration,

12   interpretation, investigation, and enforcement of FEHA, the CRD brings this claim in the name of

13   the CRD on behalf of all Indian persons who are or are perceived to be Dalit, of lower castes, or

14   who fall outside the caste system, who are employed by or may seek employment with Cisco in the

15   future.

16             96.   As alleged above, Defendant Cisco failed to take all reasonable steps necessary to

17   prevent discrimination, harassment, and retaliation from occurring within its South Asian Indian

18   workforce. Among other things, Defendant Cisco failed to develop anti-discrimination and anti-

19   harassment policies and practices that recognize and prohibit caste discrimination as a form of

20   unlawful discrimination under state and federal law. Defendant Cisco also failed to provide

21   appropriate training to managers, supervisors employees, human resources, and employee relations

22   personnel on how to identify, investigate, remediate, and prevent caste-based discrimination and

23   harassment, or retaliation against employees or persons who oppose discriminatory and harassing

24   practices that are unlawful under the FEHA.

25             97.   Cisco’s failure to take any reasonable steps to prevent, deter, remedy, or monitor

26   casteism and related violations in its workforce exposes a significant portion of its South Asian

27   Indian workforce to the risk of discrimination, harassment, and retaliation on the basis of their

28   caste and related characteristics.

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 1           98.       Defendant Cisco engaged in, and by its refusal to comply with the law,

 2   demonstrated it will continue to engage in, the unlawful employment discrimination described

 3   herein unless it is enjoined pursuant to the FEHA. Unless Defendant Cisco is enjoined from failing

 4   or refusing to comply with the mandates of the FEHA, Complainant and other persons’ rights to

 5   seek or hold employment free of unlawful discrimination will continue to be violated.

 6           99.       Plaintiff CRD lacks any plain, speedy, and adequate remedy at law to prevent such

 7   harm, injury, and loss that is the subject of this complaint and will continue until this Court enjoins

 8   the unlawful conduct and grants other injunctive relief as prayed for herein.

 9                                          PRAYER FOR RELIEF

10   WHEREFORE, the CRD respectfully requests that this Court:

11           1.        Grant a permanent injunction enjoining Defendants, their officers, agents, servants,

12   employees, attorneys, and all persons in active concert or participation with them, from engaging

13   in discrimination and harassment based on religion, ancestry, national origin/ethnicity, and

14   race/color.

15           2.        Grant a permanent injunction enjoining Defendants, their officers, agents, servants,

16   employees, attorneys, and all persons in active concert or participation with them, from engaging

17   in retaliation.

18           3.        Order Defendants to institute and carry out policies, practices, and programs that

19   provide equal employment opportunities for individuals regardless of their religion, ancestry,

20   national origin/ethnicity, and race/color, and that eradicate the effects of their past and present

21   unlawful employment practices.

22           4.        Order Defendants to make Complainant whole, by providing appropriate backpay

23   with prejudgment interest, in amounts to be determined at trial, and other injunctive relief

24   necessary to eradicate the effects of Defendants’ unlawful employment practices.

25           5.        Order Defendants to make Complainant whole, by providing compensation for past

26   and future pecuniary losses resulting from the unlawful employment practices described herein, in

27   amounts to be determined at trial.

28

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 1           6.     Order Defendants to make Complainant whole, by providing compensation for past

 2   and future nonpecuniary losses resulting from the unlawful practices complained of herein,

 3   including losses such as emotional pain, suffering, inconvenience, loss of enjoyment of life, and

 4   humiliation, in amounts to be determined at trial.

 5           7.     Order Defendants to pay Complainant punitive damages for their malicious and/or

 6   reckless conduct described herein, in amounts to be determined at trial.

 7           8.     Grant such further relief as the Court deems necessary and proper in the public

 8   interest.

 9           9.     Award the CRD its costs of this action, including reasonable attorneys’ fees, as

10   provided by statute.

11                                        JURY TRIAL DEMAND

12           The CRD requests a jury trial on all questions of fact raised by its complaint.

13

14   Dated: March 18, 2024                                        CALIFORNIA CIVIL RIGHTS
                                                                  DEPARTMENT
15

16                                                                By:_____________________________
                                                                  Rumduol Vuong
17
                                                                  Assistant Chief Counsel
18                                                                Counsel for Plaintiffs

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 1                                       PROOF OF SERVICE

 2          I, Salina Powell, the undersigned, hereby declare:

 3          I am over eighteen years of age and not a party to the within cause. My business

 4   address is 555 12th Street, Suite 2050, Oakland, CA 94607. My electronic service address is

 5   Carolina.Arana@calcivilrights.ca.gov.

 6          On the date below, I served the following document(s) via Electronic Service:

 7      •   CIVIL RIGHTS – SECOND AMENDED COMPLAINT
 8

 9          In the case DFEH v. Cisco Systems, Inc. et al., Santa Clara County Superior Court Case

10   No.: 20CV372366, to the person(s) listed below at the following e-mail address(es):

11
      Lynne C. Hermle
12    lchermle@orrick.com
      Joseph C. Liburt
13    jliburt@orrick.com
      Nicholas J. Horton
14
      nhorton@orrick.com
15    Attorneys for Defendant Cisco Systems, Inc.

16          I declare under penalty of perjury under the laws of the State of California that the
17   foregoing is true and correct.
18          Executed on March 27, at Oakland, CA.
19

20
21                                                ___________________________
                                                  Carolina Arana
22                                                CA Civil Rights Department (formerly DFEH)
23

24

25

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27

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                Cal. Civil Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                                 Proof of Service
